         Case 1:18-cv-03074-CRC Document 9 Filed 04/17/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

 Yanping Chen,

                                  Plaintiff,
                                                   No. 18-cv-3074
                    v.
                                                   Hon. Christopher R. Cooper
 Federal Bureau of Investigation,
                                                   United States District Judge
 U.S. Department of Justice, U.S.
 Department of Defense, and U.S.
 Department of Homeland
 Security,

                               Defendants.



                     GOVERNMENT’S MOTION TO DISMISS

      Defendants Federal Bureau of Investigation, U.S. Department of Justice, U.S.

Department of Defense, and U.S. Department of Homeland Security move to dismiss

this case for failure to state a claim upon which relief can be granted under Federal Rule

of Civil Procedure 12(b)(6).

      The grounds for this motion are that the doctrine of issue preclusion bars plaintiff

Yanping Chen’s Privacy Act claim in this case.

      A proposed order is attached.

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        Case 1:18-cv-03074-CRC Document 9 Filed 04/17/19 Page 2 of 2



Dated: April 17, 2019                    Respectfully submitted,

                                         JOSEPH H. HUNT
                                         Assistant Attorney General

                                         ELIZABETH J. SHAPIRO
                                         Deputy Branch Director

                                          /s/ Garrett Coyle
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